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   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-0024-GEB
12                                Plaintiff,            STIPULATION AND [PROPOSED] ORDER TO
                                                        CONTINUE STATUS CONFERENCE
13                         v.
                                                        Date: November 2, 2018
14   DONTE ROBINS,                                      Time: 9:00 a.m.
     ISAIAH BURKS,                                      Judge: Hon. Garland E. Burrell, Jr.
15   RAYSHAWN WRAY, and
     JOSHUA MARKANSON,
16
                                 Defendants.
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19          The United States of America, through its undersigned counsel, and defendants Donte Robins,

20 Isaiah Burks, and Joshua Markanson, through their counsel of record, stipulate that the status conference
21 currently set for November 2, 2018, be continued to January 11, 2019, at 9:00 a.m.1

22          In March 2018, Mr. Robins and Mr. Markanson were arraigned on the nine-count Superseding

23 Indictment. (ECF Nos. 15, 21, 22.) Mr. Burks was arraigned separately, in May 2018. (ECF No. 37.)

24 The government had produced to defense counsel the discovery relevant to this case. This includes 139

25 pages of written materials and roughly 130 photos, as well as fifteen compact disks containing dozens of

26
            1
27           Co-defendant Rayshawn Wray was recently taken into federal custody and made his initial
   appearance in a Rule 5 hearing in the Central District of California. United States v. Rayshawn Wray,
28 5:18-mj-0419 (C.D. Cal.). He will make his initial appearance in the Eastern District of California upon
   his arrival in this District via the U.S. Marshals Service.
     STIPULATION AND [PROPOSED] ORDER TO CONTINUE         1
30    STATUS CONFERENCE
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 1 audio and video files.

 2          In addition, in the coming week, the government will be producing additional discovery materials

 3 to all defense counsel, with documents potentially relevant to each defendant under Brady v. Maryland,

 4 373 U.S. 83 (1963), and Giglio v. United States, 405 U.S. 150 (1972). Defense counsel will require time

 5 to review these new materials, as well as the materials already produced, time to conduct research and

 6 investigation about the charged offenses and potential defenses, and time to otherwise prepare for trial.

 7          Based on the foregoing, defendants Robins, Burks, and Markanson (through counsel) stipulate

 8 that the status conference currently set for November 2, 2018, be continued to January 11, 2019, at 9:00

 9 a.m. The parties further agree that time under the Speedy Trial Act should be excluded from the date the
10 parties stipulated, up to and including January 11, 2019, under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv)

11 [reasonable time to prepare], and General Order 479 [Local Code T4], based on continuity of counsel and

12 defense preparation.

13          The parties agree that the failure to grant a continuance in this case would deny defense counsel

14 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

15 The parties also agree that the ends of justice served by the Court granting the requested continuance

16 outweigh the best interests of the public and the defendants in a speedy trial.

17                                                       Respectfully submitted,

18 Dated: October 31, 2018                               _/s/ Timothy H. Delgado___________
                                                         TIMOTHY H. DELGADO
19
                                                         Assistant United States Attorney
20                                                       Attorneys for Plaintiff United States

21 Dated: October 31, 2018                               _/s/ THD for Linda C. Allison_______
22                                                       LINDA C. ALLISON
                                                         Assistant Federal Defender
23                                                       Attorney for Defendant Donte Robins

24 Dated: October 31, 2018                               _/s/ THD for Philip Cozens_________
                                                         PHILIP COZENS
25                                                       Attorney for Defendant Isaiah Burks
26
     Dated: October 31, 2018                             _/s/ THD for Etan Zaitsu___________
27                                                       ETAN ZAITSU
                                                         Attorney for Defendant Joshua Markanson
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       2
30    STATUS CONFERENCE
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 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court also finds that the ends of

 6 justice served by granting the requested continuance outweigh the best interests of the public and the

 7 defendant in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, up to and including January 11,

 9 2019, shall be excluded from computation of time within which the trial in this case must begin under
10 the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General

11 Order 479 [Local Code T4]. It is further ordered that the November 2, 2018 status conference be

12 continued until January 11, 2019, at 9:00 a.m.

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            Dated: November 1, 2018
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE         3
30    STATUS CONFERENCE
